            Case 1:13-cv-02334-SHR Document 40 Filed 09/02/15 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF PENNSYLVANIA


HIGH FIVE VENTURES, INC.,                    :
           Plaintiff                         :
                                             :
       v.                                    :
                                             :            CASE NO.: 1:13-CV-2334
SPORTSMANSLIQUIDATION.COM,                   :
LLC and MUSKEGON HUNTING                     :
PRODUCTS, LLC,                               :
           Defendants                        :


                   UPDATE REGARDING STATUS OF RECEIVERSHIP

       Compass Advisory Partners, LLC, as the duly appointed Receiver in this action (the

“Receiver”), hereby avers the following:

       1.      As of September 2, 2015 the Receiver has paid $77,544.34 in claims to unsecured

creditors by check and of this amount $2,904.73 has not been cashed.

       2.      The Receiver also has the following administrative fees that it intends to pay

immediately before it closes the receivership:

               Receiver Fees -               $17,277.60
               Receiver Counsel Fees -       $1,985.00
               Sales Tax -                   $10,000.00

       3.      The Receiver anticipates requesting this Court to close receivership on or about

October 16, 2015 in order to allow unsecured creditors additional time to cash all of their

respective distributions.
        Case 1:13-cv-02334-SHR Document 40 Filed 09/02/15 Page 2 of 2




                                   McNEES WALLACE & NURICK LLC


Date: September 2, 2015            By: /s/ Clayton W. Davidson
                                           Clayton W. Davidson
                                           Attorney I.D. 79139
                                           100 Pine Street - P.O. Box 1166
                                           Harrisburg, PA 17108-1166
                                           Direct Fax: 717-260-1678
                                           Phone: 717-232-8000
                                           cdavidson@mwn.com

                                   Attorneys for the Receiver
